            Case 1:18-cr-00182-JLT-SKO Document 5 Filed 08/23/18 Page 1 of 2

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   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:18-MJ-00127-EPG

12                              Plaintiff,
                                                          MOTION AND ORDER TO UNSEAL
13                         v.                             COMPLAINT

14   LUPITA CISNEROS,

15                              Defendant.

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17          The Complaint in this case, having been sealed by Order of the Court on August 6, 2018,
18 and it appears that it no longer need remain secret,

19          The United States of America, by and through McGregor W. Scott, United States Attorney, and

20 Laura D. Withers, Assistant United States Attorney, hereby moves that the Complaint in this case be

21 unsealed and made public record.

22
      Dated: August 22, 2018                                  MCGREGOR W. SCOTT
23                                                            United States Attorney
24
                                                     By: /s/ VINCENZA RABENN
25                                                       VINCENZA RABENN
                                                         Assistant United States Attorney
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      MOTION AND ORDER TO UNSEAL                          1
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            Case 1:18-cr-00182-JLT-SKO Document 5 Filed 08/23/18 Page 2 of 2

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 2                        IN THE UNITED STATES DISTRICT COURT FOR THE

 3                                   EASTERN DISTRICT OF CALIFORNIA

 4
     UNITED STATES OF AMERICA,                      CASE NO. 1:18-MJ-00127-EPG
 5
                                   Plaintiff,       ORDER TO UNSEAL COMPLAINT
 6
                          v.
 7
     LUPITA CISNEROS,
 8
                                   Defendant.
 9

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11          Pursuant to the motion by the United States, IT IS HEREBY ORDERED that the Complaint filed
12 on August 6, 2018, be unsealed and become public record.

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     IT IS SO ORDERED.
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15 Dated:     August 22, 2018                                 /s/   Sheila K. Oberto        .
16                                                UNITED STATES MAGISTRATE JUDGE

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      MOTION AND ORDER TO UNSEAL                    2
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